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 7
                                   UNITED STATES DISTRICT COURT
 8
                                          DISTRICT OF NEVADA
 9

10    FEIFEI FAN, an individual,                            CASE NO: 3:24-cv-00427-MMD-CLB
11                    Plaintiff,
12             vs.                                              JOINT CASE STATUS REPORT
                                                                REGARDING ORDER TO FILE
13    STATE OF NEVADA EX REL. BOARD OF                            MANAGEMENT REPORT
14    REGENTS OF THE NEVADA SYSTEM OF
      HIGHER EDUCATION, ON BEHALF OF THE
15    UNIVERSITY OF NEVADA, RENO,

16                    Defendant.
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18           COMES NOW, Plaintiff, FEIFEI FAN, (hereinafter “Plaintiff”), by and through her counsel

19    of record, Trevor J. Hatfield, Esq., of the law firm of Hatfield & Associates, Ltd., and Defendant
20    captioned above (hereinafter “Defendant”), submits the following Status Report regarding the filing
21
      of a Joint Case Management Report as Ordered pursuant to ECF #14.
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             On February 6, 2025 the parties’ counsel held an FRCP 26(f) conference. The parties’
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      counsel did not discuss the need for a Special Scheduling Review at the conference. On February
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25    19, 2025, Plaintiff’s counsel emailed a proposed Discovery Plan and Scheduling Order (DPSO) to

26    Defendant’s counsel.

27           On February 21, 2025, Defendant’s counsel emailed requested edits to the proposed DPSO
28    that would require a Special Scheduling Review. Plaintiff’s counsel then emailed Defendant’s


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 1    counsel that Plaintiff was amendable to submitting a revised DPSO for a Special Scheduling

 2    Review and would be submitting a proposed Joint Case Management Report (JCMR) as the due
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      date for submitting it to the court was approaching and Plaintiff’s counsel would be in trial the next
 4
      two weeks.
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             On February 24, 2025, Plaintiff’s counsel’s staff emailed a proposed JCMR to Defendant’s
 6
      counsel. Defendant’s counsel has requested edits and revisions to the JCMR.
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 8           The parties’ counsel is working together but it is respectfully requested by Plaintiff to have

 9    an extension of time to review the edits of proposed JCMR and submit it to the court as Plaintiff’s
10    counsel is currently in trial, and files this Status Report as the deadline is February 24, 2025 to
11
      submit a proposed JCMR to the court.        Plaintiff proposes a two-week extension to review and
12
      potentially meet and confer further and then submit a JCMR.
13

14    Dated this 24th day of February 2025.                  HATFIELD & ASSOCIATES, LTD.
15
                                                             By: /s/ Trevor J. Hatfield
16                                                           Trevor J. Hatfield, Esq. (SBN 7373)
                                                             703 South Eighth Street
17                                                           Las Vegas, Nevada 89101
18                                                           (702) 388-4469 Tel.
                                                             Attorney for Plaintiff
19

20                                      CERTIFICATE OF SERVICE
21
             I HEREBY CERTIFY that on the 24th day of February 2025, I filed and served the foregoing
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                                                         28




      STATUS REPORT with the Clerk of the Court using the ECF system which served the parties
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24    hereto electronically.
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25    DATED: February 24, 2025                                      /s/ Freda P. Brazier
                                                   By:
26                                                           An employee of Hatfield & Associates, Ltd.
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